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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 CASSANDRA ALEXANDER and EDD ALEXANDER,
                                                                             NOTICE OF MOTION FOR
                                                   Plaintiffs,               SUMMARY JUDGMENT

                               -against-                                     21-CV-5816 (WFK)(RLM)

 THE CITY OF NEW YORK, SGT. DAMON MARTIN;
 SGT. JAMES PRIORE; OFFICER MANNY SHARMA;
 and OFFICER DOES 1-5

                                                 Defendants.
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         PLEASE TAKE NOTICE that upon the annexed Declaration of Senior Counsel Ramy

 Louis, dated January 9, 2023, and the exhibits annexed thereto, the Memorandum of Law, dated

 January 9, 2023, and upon all prior pleadings had herein, defendants City of New York, Manny

 Sharma, Damon Martin, and James Priore will move this Court before the Honorable William F.

 Kuntz II, United States District Judge, at the United States Courthouse for the Eastern District of

 New York, located at 225 Cadman Plaza East, Brooklyn, New York 11201, at a date and time to

 be determined by the Court, for summary judgement in favor of defendants, pursuant to Rule 56

 of the Federal Rules of Civil Procedure, and for such other and further relief as the Court may

 deem just and proper.

         PLEASE FURTHER TAKE NOTICE pursuant to the Court’s Order, dated January 4,

 2023, that opposition papers, if any, shall be served on the undersigned no later than February 6,

 2023, and
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        PLEASE FURTHER TAKE NOTICE pursuant to the Court’s Order, dated January 4,

 2023, defendants’ reply papers, if any, shall be served on plaintiffs by February 27, 2023.



 Dated: New York, New York
        January 6, 2023



                                                      HON. SYLVIA O. HINDS-RADIX
                                                      Corporation Counsel of the City of New York
                                                      Attorney for Defendants City of New York,
                                                      Sharma, Martin, and Priore
                                                      100 Church Street
                                                      New York, New York 10007
                                                      (212) 356-2386
                                                      rlouis@law.nyc.gov




                                                      _____________________________
                                                      Ramy Louis
                                                      Senior Counsel


 To:    All Counsel of Record (VIA ELECTRONIC MAIL)




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